,                             Case 6:21-cv-03221-RRS-PJH Document 1-2 Filed 09/03/21 Page 1 of 6 PageID
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r           WILSON, AMY                                                                                                                     .,                                                                  Case: 00079258                        f
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;                                                                                                                                                                                                               Division: B
            Versus                                                                                                                                                                                              13en Judicial District Court          ~
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                                                                                                                                                                                                                Parish of Evan ge li ne
~           DOLGENCORP LLC - ET AL                                                                                                                                                                              State of Louisiana                    -
                                                                                                                                                                                                                                                      ~


                                                                                                                                                                                                                                                      a
r                                                                                                                                                                                                                                                     r
            TO THE DEFENDANT                                               DG LOUISIANA LLC                                                                                                                                                           a
;                                                                          & DOLGENCORP, LLC
                                                                           THRU REGISTERED AGENT
                                                                           CORPORATION SERVICE CO
                                                                           501 LOUISIANA AVE
                                                                           BATON ROUGE, LA 70802

            You are hereby cited to appear before the District Court, in and for the Parish of Evangeline and comply with
            the demand contained in the Petition of AMY WILSON against you, a copy of which is hereto annexed: or file
            your answer thereto in the'Office of the Clerk of Court, in the Town ofVille Platte, within fifteen (15) days
            after service thereof; and your failure to so comply will subject you to the penalty of having a default judgment
            rendered against you.      .~

            Issued and delivered APRIL 3, 2021


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                                                                                                                                                                   Deputy Clerk of Court

            Requested by Attorney: ,
            JASMYN M. SOLDATOS
            PETITION FOR DAMAGES & REQUEST FOR NOTICE




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                                                                     ~•.                                        f.                                                            ,




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                                                                                                                     Service Information

    =        Received on the                                          "'day of                       , 20       and on the                                                                                                day of
                                                                     ,';20     served the above named party as follows:
i

            Personal Service on the party herein named
'           Domiciliary Service or Departmental Service on the party herein named by leaving the same at his/her
            domicile in the parish in the hands of                                                      , a person apparently
            over the age of seventeen-years, living and residing in said domicile and whose name and other facts connected
            with this service, I iearned by interrogating the said person, said party herein being absent from his/her
,           residence at the time of said service.
+                                                                    r.
>           Returned:
            Parish of                                                                                                               this                            day of                                                         , 20

             Service                   $
                                                                                                           By:
    q        Mileage                   $                               f                                                            Deputy Sheriff                                                                                                        ~
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    ?        Total                     $                                                                                                                                                                             DA7E
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                                                                                                                                                                                          EXHIBIT A                                                   {
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      13TH JUDICIAL DISTRICT COURT FOR THE PARISH OF EVANGELINE

                                   STATE OF LOUISIANA

         NO. ~ 9a5 ~_ b                                                               DIVISION:

                                         AMY WILSON

                                                versus

     DOLGENCORP, LLC AND DG LOUISIANA, LLC D/B/A DOLLAR GENERAL


FILED:
                                                                               MDA711~11'ZOA-MN,:,
                                 PETITION FOR DAMAGES

       NOW INTO COURT, through undersigned counsel, comes Petitioner, AMY WILSON,

a person of the full age of majority domiciled in the Parish of Evangeline, State of Louisiana, who

respectfully represents the following:

                                                  I.

       Made defendants herein are:

      A. DOLGENCORP, LLC, a foreign limited liability company authorized to do and doing

          business in the State of Louisiana; and

      B. DG LOUISIANA, LLC, a foreign limited liability company authorized to do and doing

          business in the State of Louisiana.

Collectively referred to herein as "Dollar General"

                                                  II.

       Venue is proper in this court under La. C.C.P. art. 74.



       Said defendants are indebted in solido unto Petitioner for the following reasons to-wit:

                                                 IV.

       On or about June 23, 2020, Petitioner, AMY WILSON, was a patron of the Dollar General

store located at 1071 S. Chataignier Street, Ville Platte, Louisiana 70586.
Case 6:21-cv-03221-RRS-PJH Document 1-2 Filed 09/03/21 Page 3 of 6 PageID #: 10
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                                                    V.

        At all times material herein, defenciant, Dollar General, owned, operated, maintained

 and/or had care, custody and control over the store located at 1071 S. Chataignier Street, Ville

 Platte, Louisiana 70586.

                                                   VI.

         On the aforementioned date, Petitioner selected a product from a shelf in the personal

 hygiene aisle. As she turned around to walk away, she slipped in an unknown liquid on the floor

 of the store, causing her to fall to the floor and injuring herself.



         This u.nknown liquid constituted a hazard which defendant, Dollar General, owed a duty

 to its patrons to protect against. It is averred that Dollar General knew, or in the exercise of

 reasonable care, should have known about the hazard and failed to remedy it.



         In addition, the above-described accident and ensuing injuries to Petitioner were caused by

 no fault of her own, but solely and entirely by the negligence and/or fault of defendant, Dollar

 General, its employees, agents, and/or contractors, in the following but not necessarily exclusive,

 acts and/or omissions of negligence:

         a) Failure to properly maintain premises;

         b) Failure to warn guests of known dangerous/hazardous conditions, vices and/or defects;

         c) Failure to adequately inspect property and/or premises for hazardous conditions;

         d) Placing guests in a perilous situation by lack of inspection, repair and/or maintenance

             of the premises;

         e) Failure to correct a known hazardous condition, vice and/or defect;

         f) Failure to protect guests from a known dangerous situation; and

         g) Any and all other acts of negligence which will be learned through discovery.

                                                    IX.

         As a result of the accident, Petitioner, AMY WILSON, sustained various injuries,

 including but not limited to pains in her knee and back. The injuries described herein required

 AMY WILSON to seek medical treatment and incur medical costs.
Case 6:21-cv-03221-RRS-PJH Document 1-2 Filed 09/03/21 Page 4 of 6 PageID #: 11




                                                  X.

    As a result of the accident, Petitioner, AMY WILSON, has sustained or will sustain the

 following non-exclusive damages:

    a) Past, present, and future physical pain and suffering;

    b) Past, present, and future mental and emotional anguish and suffering;

    c) Past, present, and future medical expenses;

    d) Past, present, and future loss of enjoyment of life;

    e) Past and future lost wages and/or loss of earning capacity; and

    f) Any and all other claims of damages that are reasonable in the premises.

                                                  XI

        As a result of this incident, Petitioner is entitled to recover damages that are reasonable

 under the circumstances.



        Petitioner avers amicable demand to no avail.

        WHEREFORE, Petitioner, AMY WILSON, prays Defendants, DOLGENCORP, LLC

 AND DG LOUISIANA, LLC, be duly cited and served with a copy of this Petition for Damages,

 aiid after all legal delays and due proceedings are had herein, there be judgment in favor of

 Petitioner, AMY WILSON, for all general and equitable relief for an amount as is reasonable in

 the premises and against Defendants together with legal interest from the date of judicial demand

 until paid, and for all costs of these proceedings.




         [SIGNATURE BLOCK & SERVICE INSTRUCTIONS ON NEXT PAGE]
Case 6:21-cv-03221-RRS-PJH Document 1-2 Filed 09/03/21 Page 5 of 6 PageID #: 12




                                             Respectfully submitted,

                                             MIKE BRANDNER INJiJRY ATTORNEYS



                                             MICHAEL S. BRANDNER, JR. (La. Bar 27
                                             SCOT P. KOLOSKI (La. Bar 27537)
                                             KEITH M. ACCARDO, JR. (La. Bar 39100)
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                                             3621 Veterans Memorial Blvd.
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                                             Email: kaccardo@mikebrandner.com
                                             Email: jsoldatos(~
                                                              a,mikebrandner.com
                                             Attorneys for the Plaintiff




 PLEASE SERVE:

 DG LOUISIANA, LLC and
 DOLGENCORP LLC
 Through their registered agent of service
 Corporation Service Company
 501 Louisiana Avenue
 Baton Rouge, LA, 70802
Case 6:21-cv-03221-RRS-PJH Document 1-2     FiledfA 09/03/21
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       13TH JUDICIAL DISTRICT COURT FOR THE PARISH OF E87ANGELINE

                                     STATE OF LOUISIANA

          NO.                                                                      DIVISION:

                                          AMY WILSON

                                               versus

      DOLGENCORP, LLC AND DG LOUISIANA, LLC D/B/A DOLLAR GENERAL


 FILED:
                                                                                  DEPUTY CLERK
                                     REOUEST FOR NOTICE

        NOW INTO COURT, through undersigned counsel, comes your Petitioner herein, AMY

 WILSON, pursuant to La. C.C.P. Articles 1572, 1913, and 1914, who asks this Court for written

 notice ten (10) days in advance of the date fixed for the hearing of any exception, motion, rule, or

 trial on the merits, in tlie captioned proceeding. Furthermore, Petitioner requests immediate notice

 of all interlocutory and final orders on any judgments, exceptions, motions, rules, and/or of the

 trial on the merits in the captioned.

                                               Respectfully submitted,

                                               MIKE BRANDNER INJURY ATTORNEYS



                                               MICIiAEL S. BRANDNER, JR. (La. Bar 27973)
                                               SCOT P. KOLOSKI (La. Bar 27537)
                                               KEITH M. ACCARDO, JR. (La. Bar 39100)
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                                               Attorneys for the Plaintiff
